                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )       No. 18-03137-01/02-CR-S-BP
                                                 )
DEANNA L. HARRIS, et al.,                        )
                                                 )
               Defendants.                       )

                                             ORDER

       Counsel for defendant Deanna L. Harris (01) has filed a motion for continuance of the

February 11, 2019 trial setting in the above-captioned case. (Doc. 25.)

       In any case in which a plea of not guilty is entered, the trial shall commence within 70 days

from the filing of the information or indictment or the date of the defendant’s first appearance,

whichever comes last. 18 U.S.C. § 3161(c)(1) (the “Speedy Trial Act”). However, in computing

the time within which trial of any offense must commence, any period of delay resulting from a

continuance granted by the court at the request of a defendant or his or her counsel, which serves

the ends of justice, shall be excluded from computing the time. 18 U.S.C. § 3161(h)(7)(A). The

Speedy Trial Act requires that the court set forth its reasons for finding that the ends of justice

served by the granting of such continuance outweigh the best interests of the public and the

defendant in a speedy trial. Factors which this Court shall consider in determining whether to

grant a continuance include whether the failure to grant such a continuance would be likely to

result in a miscarriage of justice and deny reasonable time necessary for effective preparation,

taking into account the exercise of due diligence.

       Counsel for defendant states that additional time is needed to conduct critical evaluations




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of the discovery, guidelines, suppression issues, and resolution options. Failure to grant the

continuance would deny counsel for defendant the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence. The Court finds that the ends of

justice served by granting a continuance outweigh the best interest of the public and defendant in

a speedy trial. Also, both defendants are charged in Count One with conspiracy. In granting the

motion for continuance, there is no violation of the rights of the co-defendants to a speedy trial.

United States v. Thomas, 774 F.2d 807 (7th Cir. 1985). It is therefore

        ORDERED that the motion for continuance of the February 11, 2019 trial setting is

granted; and it is further

        ORDERED the above-captioned case is reset for jury trial on the Joint Criminal Trial

Docket which commences on August 19, 2019 at 9:00 a.m.; and it is further

        ORDERED that the pretrial conference set in this matter on January 15, 2019 is hereby

cancelled; and it is further

        ORDERED that the additional period of delay in commencing defendant’s trial caused by

this continuance shall be excluded in computing the time within which this trial shall commence

under the Speedy Trial Act.

        IT IS SO ORDERED.

                                                     /s/ David P. Rush
                                                     DAVID P. RUSH
                                                     UNITED STATES MAGISTRATE JUDGE

DATE: January 9, 2019




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